                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

 In re:
                                                                      Case #: 18-83207-CRJ11
 PRIMARY PROVIDERS OF ALABAMA, INC.
 EIN: XX-XXX9960                                                      CHAPTER 11


      DEBTOR.

                MOTION FOR EXAMINATION PURSUANT TO RULE 2004

     COMES NOW, BancorpSouth Bank, a corporation, (“Movant”), by and through counsel, and
 hereby moves for authority to examine Primary Providers of Alabama, Inc. (“Debtor”) pursuant
 to Rule 2004 of the Federal Rules of Bankruptcy Procedure, on the following grounds:

     1. The above-styled Debtor filed a Chapter 11 Petition in the above-styled District and Division
        on 10/26/18.

     2. On 11/04/16, Debtor, fdba Allman Family Medicine, P.C., executed a promissory note (“Note
        1”) to Movant and a Security Agreement Addendum (“SA Addendum 1”) contemporaneously
        therewith granting a security interest in “All Business Assets” and a first mortgage on 3.37
        acres located at 1878 Jeff Road NW #G, Huntsville, AL 35806. A copy Note 1 and of the SA
        Addendum 1 are attached hereto as “Exhibit A” and “Exhibit B,” respectively, and
        incorporated herein by reference. Debtor also executed contemporaneously with Note 1 a
        Commercial Security Agreement (“CSA 1”) granting therein a security interest to Movant in
        “Equipment” and “All Business Assets.” A copy of CSA 1 is attached hereto as “Exhibit C”
        and incorporated herein by reference.

     3. Additionally, on 11/04/16, Debtor, fdba Allman Family Medicine, P.C., executed a second
        promissory note (“Note 2”) to Movant and a Security Agreement Addendum (“SA Addendum
        2”) therewith granting a security interest in “Accounts Receivable.” A copy Note 2 and of the
        SA Addendum 2 are attached hereto as “Exhibit D” and “Exhibit E,” respectively. Debtor also
        executed contemporaneously with Note 2 a Commercial Security Agreement (“CSA 2”)
        granting therein a security interest to Movant in “Account Receivable” and “Accounts and
        other Rights of Payment” (“Account Collateral”). A copy of CSA 2 is attached hereto as
        “Exhibit F” and incorporated herein by reference.

     4. On 11/07/16, Movant filed with the Alabama Secretary of State a UCC-1 Financing
        Statements, Statement #: XX-XXXXXXX (“FS 1”) and Statement #: XX-XXXXXXX (“FS 2”) thereby
        properly perfecting Movant’s interest in all business assets, accounts receivables, and all
        equipment of the Debtor, whether then owned or acquired thereafter. A copy of FS 1 and FS




Case 18-83207-CRJ11        Doc 60     Filed 01/11/19 Entered 01/11/19 08:47:51             Desc Main
                                    Document      Page 1 of 29
       2 are attached hereto as “Exhibit G” and “Exhibit H,” respectively, and incorporated herein
       by reference.

    5. On 06/01/18, Debtor, fdba Allman Family Medicine, P.C., executed a renewal promissory
       note (“Note 3”) to Movant and a Security Agreement Addendum (“SA Addendum 3”)
       therewith granting a security interest in “Accounts Receivable.” A copy Note 3 and of the SA
       Addendum 2 are attached hereto as “Exhibit I” and “Exhibit J,” respectively. Debtor also
       executed contemporaneously with Note 3 a Commercial Security Agreement (“CSA 3”)
       granting therein a security interest to Movant in “Account Receivable” and “Accounts and
       other Rights of Payment” (“Account Collateral”). A copy of CSA 3 is attached hereto as
       “Exhibit K” and incorporated herein by reference.
    6. On 11/27/18, the 341 Meeting of Creditors was held and counsel for Movant did attend.
       At the 341 Meeting, the Debtor disclosed that it had a previous business location in which
       the landlord was awaiting possession and that the location had business equipment still in
       the commercial space.

    7. On 12/06/18, West Madison Professional Plaza, LLC filed a motion for stay relief to
       obtain possession of a commercial space the Debtor had used as a business location prior
       to the filing of this bankruptcy.

    8. After some investigation regarding the equipment and upon information and belief, the
       Debtor sold equipment that was at the old business location through an auction held by
       Fowler Auction & Real Estate Services, Inc. approximately one (1) week prior to filing of
       the instant Chapter 11 bankruptcy matter. Attached as “Exhibit L” and incorporated
       herein is a screenshot of the equipment that is believed to have been the Debtor’s and the
       Collateral to which Movant has a perfected security interest.

    9. Further, upon information and belief, additional equipment may have been sold to private
       parties and additional equipment may be stored at an unknown storage facility.

    10. Movants request a 2004 Examination in order to obtain additional information about the
        Debtor’s assets and liabilities, to better understand the condition and location of its
        Collateral, to further explore the details surrounding the sale and/or gifting of their
        Collateral, if any, and to determine any other information relevant to the administration
        of the Debtor’s estate.

 WHEREFORE, PREMISES CONSIDERED, Movants respectfully request this Court to enter
 an Order:

    A. Directing the Debtor to submit to an examination under Rule 2004 of the Federal Rules
       of Bankruptcy Procedure by Movants, through their undersigned counsel, on the date set
       for soonest 341 docket and located at the address for said docket.

    B. Directing Debtor’s to produce for inspection and copying by Movants all of the
       documents described in the attached “Exhibit M.”




Case 18-83207-CRJ11       Doc 60     Filed 01/11/19 Entered 01/11/19 08:47:51            Desc Main
                                   Document      Page 2 of 29
      C. Granting Movant such other and further relief as is just and proper.


 Dated this the 11th day of January, 2019.



                                                         /s/ James C. Cameron
                                                         James C. Cameron (ASB-9443-5LP9)
                                                         JONES, & CAMERON, LLC
                                                         Attorney for Movant
                                                         P. O. Box 940
                                                         Guntersville, AL 35976
                                                         (256) 582-0588



                                             CERTIFICATE OF SERVICE


 I hereby certify that I have served a copy of the foregoing, in accordance with Fed. R. Bankr. P. 4001(a), 9014, and 7004,
 by first class mail postage prepaid or via Notice of Electronic Filing through the Court’s CM/ECF Noticing System to the
 following parties:

           Primary Providers of Alabama (fdba, Allman Family Medicine, P.C.)
           1861 Shellbrook Drive
           Huntsville, AL 35806

           Tazewell Shepard                                       Tazewell Taylor Shepard, IV
           taze@ssmattorneys.com                                  ty@ssmattorneys.com
           cheryl@ssmattorneys.com
           janelle@ssmattorneys.com

           Richard M Blythe, Bankruptcy Administrator
           Richard_Blythe@alnba.uscourts.gov
           courtmaildec@alnba.uscourts.gov

 This 11th day of January, 2019.

                                                         __/s/ James C. Cameron________
                                                         James C. Cameron
 (38400)




Case 18-83207-CRJ11                Doc 60     Filed 01/11/19 Entered 01/11/19 08:47:51                        Desc Main
                                            Document      Page 3 of 29
                                    EXHIBIT A




Case 18-83207-CRJ11   Doc 60     Filed 01/11/19 Entered 01/11/19 08:47:51   Desc Main
                               Document      Page 4 of 29
Case 18-83207-CRJ11   Doc 60     Filed 01/11/19 Entered 01/11/19 08:47:51   Desc Main
                               Document      Page 5 of 29
                                                        EXHIBIT B




Case 18-83207-CRJ11   Doc 60     Filed 01/11/19 Entered 01/11/19 08:47:51   Desc Main
                               Document      Page 6 of 29
                                                         EXHIBIT C




Case 18-83207-CRJ11   Doc 60     Filed 01/11/19 Entered 01/11/19 08:47:51   Desc Main
                               Document      Page 7 of 29
Case 18-83207-CRJ11   Doc 60     Filed 01/11/19 Entered 01/11/19 08:47:51   Desc Main
                               Document      Page 8 of 29
                                EXHIBIT D




Case 18-83207-CRJ11   Doc 60     Filed 01/11/19 Entered 01/11/19 08:47:51   Desc Main
                               Document      Page 9 of 29
Case 18-83207-CRJ11   Doc 60 Filed 01/11/19 Entered 01/11/19 08:47:51   Desc Main
                            Document    Page 10 of 29
                                                       EXHIBIT E




Case 18-83207-CRJ11   Doc 60 Filed 01/11/19 Entered 01/11/19 08:47:51   Desc Main
                            Document    Page 11 of 29
                                                         EXHIBIT F




Case 18-83207-CRJ11   Doc 60 Filed 01/11/19 Entered 01/11/19 08:47:51   Desc Main
                            Document    Page 12 of 29
Case 18-83207-CRJ11   Doc 60 Filed 01/11/19 Entered 01/11/19 08:47:51   Desc Main
                            Document    Page 13 of 29
                                                           EXHIBIT G




Case 18-83207-CRJ11   Doc 60 Filed 01/11/19 Entered 01/11/19 08:47:51   Desc Main
                            Document    Page 14 of 29
                                                           EXHIBIT H




Case 18-83207-CRJ11   Doc 60 Filed 01/11/19 Entered 01/11/19 08:47:51   Desc Main
                            Document    Page 15 of 29
                                EXHIBIT I




Case 18-83207-CRJ11   Doc 60 Filed 01/11/19 Entered 01/11/19 08:47:51   Desc Main
                            Document    Page 16 of 29
Case 18-83207-CRJ11   Doc 60 Filed 01/11/19 Entered 01/11/19 08:47:51   Desc Main
                            Document    Page 17 of 29
                                                          EXHIBIT J




Case 18-83207-CRJ11   Doc 60 Filed 01/11/19 Entered 01/11/19 08:47:51   Desc Main
                            Document    Page 18 of 29
                            EXHIBIT K




Case 18-83207-CRJ11   Doc 60 Filed 01/11/19 Entered 01/11/19 08:47:51   Desc Main
                            Document    Page 19 of 29
Case 18-83207-CRJ11   Doc 60 Filed 01/11/19 Entered 01/11/19 08:47:51   Desc Main
                            Document    Page 20 of 29
1/10/2019                                                                          Search Auctions | Fowler Auction & Real Estate Service, Inc.




                                                                                       EXHIBIT L

            471 results found in 'All Categories'
            Search:                             Format:                              Sort By:                                             Category:

               Auctions                             All                                  Recently Completed                                   All


            Advanced Filters




            3.5 Acre± Corner Lot To Be Offered In 2                       Custom 3-Bedroom Home & 75.5                                    Heavy Equipment, Tool & Die, Power
            Tracts:                                                       Acres± To Be Offered In 6 Tracts                                Tools and Rental Equipment Inventory
            On-site bidding                                               On-site bidding                                                 at Absolute Online Auction
                                                                                                                                          Online Only
            LIVE Auction Tuesday, November 13th                           LIVE Auction Thursday, November 8th
                                                                                                                                          Monday November 5th, 2018
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            Construction/Farm Equip., Trucks &                            8 Acre± WoodedI'mLot
                                                                                            Looking   For...
                                                                                               With Unfinished                            Golf Cars   Create
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                                                                                                                                                        Gadsden              Login
            More: OPEN CONSIGNMENT                                        Cabin In Marion County                                          Online Only
            Live with Online Bidding                                 A   Word   From
                                                                         Online Only         Mickey Fowler                      Who is Fowler
                                                                                                                                     Date:        Auction?
                                                                                                                                           Nov 1, 2018                  Contact Us
            LIVE & ONLINE Simulcast Saturday, Novembe…                    ONLINE Bidding Only Closes Thursday, Nove…                      Stone Brothers Auction, LLC
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                                         Case 18-83207-CRJ11 Doc 60 Filed 01/11/19 Entered 01/11/19 08:47:51                                            Desc Main                     1/5
                                                                                   Document             Page 21 of 29
1/10/2019                                                                          Search Auctions | Fowler Auction & Real Estate Service, Inc.




            KBR Construction Company - Quarterly                          179 Acres± Of Prime Real Estate In 8                            Mini Estate Auction: Vintage & Antique
            Vehicle, Equipment & Industrial Tool                          Tracts (Highway 72 In Athens)                                   Furniture
            Auction                                                       On-site bidding                                                 Online Only
            Online Only
                                                                          LIVE Auction Thursday, October 25th                             Date: Oct 25, 2018
            Date: Oct 26, 2018
                                                                          Fowler Auction & Real Estate Service, Inc.                      Horton Auction & Real Estate
            Pearce & Associates


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            Watts Bar River View Lots Auction -                           90.59 Acres± Of Prime Real Estate To Be                         Medical Equipment & Office Furniture
            Spring City, TN                                               Offered In 3 Tracts (near Elk River &                           Online Only
            Online Only                                                   Tennessee River in Limestone County)                            ONLINE Bidding Only Closes Tuesday, Octob…
                                                                          On-site bidding
            Date: Oct 23, 2018                                                                                                            Fowler Auction & Real Estate Service, Inc.
                                                                          LIVE Auction Tuesday, October 23rd
            Stone Brothers Auction, LLC
                                                                          Fowler Auction & Real Estate Service, Inc.

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            Hendricks Estate - Antiques, Tractors,                        (2) Mobile Homes On 1.5 Acres±                                  House & 94 Acres± To Be Offered In 3
            Gas Engines, Personal Property                                On-site bidding                                                 Tracts
            Live with Online Bidding                                      LIVE Auction Saturday, October 20th                             On-site bidding
            Date: Oct 20, 2018                                            Fowler Auction & Real Estate Service, Inc.                      LIVE Auction Thursday, October 18th
            Aumann Auctions, Inc.                                                                                                         Fowler Auction & Real Estate Service, Inc.


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                                                                                   Document             Page 22 of 29
1/10/2019                                                                          Search Auctions | Fowler Auction & Real Estate Service, Inc.




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            Tools & More                                                  Online Only                                                     Collection Part 1
                                                                          Preview: October 15th
            Online Only                                                                                                                   Online Only
                                                                          Mayo Auction & Realty
            ONLINE Bidding Only Closes Thursday, Octob…                                                                                   Online Now!
            Fowler Auction & Real Estate Service, Inc.                                                                                    Aumann Auctions, Inc.
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            18.6 Acres± In 3 Tracts With 3-Bedroom                        0.5 Acre± Commercial Lot In Madison                             89 Acres± of Prime Real Estate In Tracts
            Brick House                                                   County                                                          With House (Athens, Limestone County,
            On-site bidding                                               Online Only                                                     AL)
                                                                                                                                          On-site bidding
            LIVE Auction Thursday, October 11th                           Date: Oct 11, 2018
                                                                                                                                          Date: Oct 4, 2018
            Fowler Auction & Real Estate Service, Inc.                    Fowler Auction & Real Estate Service, Inc.
                                                                                                                                          Fowler Auction & Real Estate Service, Inc.


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            Alabama Power Company Real Estate                             Contents Of Storage Unit: Sofas &                               2018 Annual Online Fall Equipment
            Auction                                                       Television                                                      Auction
            Online Only                                                   Online Only                                                     Online Only
            Date: Oct 3, 2018                                             ONLINE Bidding Only Closes Monday, Octob…                       Thursday, September 27, 2018
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                                                                                 Doc 60 Filed 01/11/19 Entered 01/11/19 08:47:51                        Desc Main                      3/5
                                                                                   Document             Page 23 of 29
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                                         Case 18-83207-CRJ11 Doc 60 Filed 01/11/19 Entered 01/11/19 08:47:51                                           Desc Main   4/5
                                                                                   Document             Page 24 of 29
1/10/2019                                                                          Search Auctions | Fowler Auction & Real Estate Service, Inc.




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                                         Case 18-83207-CRJ11 Doc 60 Filed 01/11/19 Entered 01/11/19 08:47:51                                           Desc Main   5/5
                                                                                   Document             Page 25 of 29
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          Case 18-83207-CRJ11 Doc                        60 Filed 01/11/19 Entered 01/11/19 08:47:51                                      Desc Main                  1/3
                                                           Document    Page 26 of 29
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          Case 18-83207-CRJ11 Doc                           60 Filed 01/11/19 Entered 01/11/19 08:47:51                        Desc Main   2/3
                                                              Document    Page 27 of 29
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          Case 18-83207-CRJ11 Doc                         60 Filed 01/11/19 Entered 01/11/19 08:47:51                                          Desc Main   3/3
                                                            Document    Page 28 of 29
                                          EXHIBIT M
    1) Any and all leases or contracts or documents evidencing ownership or a possessory
       interest in a storage facility or a location or real property in which items may be stored or
       kept for safekeeping and/or storage.

    2) Receipts for any and all equipment sold or loaned to any individual or entity within one
       (1) of the filing of the Chapter 11 bankruptcy petition on 10/26/18 or after the date of the
       filing of the petition.

    3) Copies of bank account statements of the Debtor for one (1) year prior to the filing of the
       Chapter 11 bankruptcy petition on 10/26/18 and of all post-petition bank statements.




Case 18-83207-CRJ11        Doc 60 Filed 01/11/19 Entered 01/11/19 08:47:51                Desc Main
                                 Document    Page 29 of 29
